      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 1 of 38 PageID #:1




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

 GUARANTEED RATE, INC.,                          )
                                                 ) Case Number:
                                                 )
                  Plaintiff,                     ) Judge:
                                                 )
         v.                                      ) Magistrate Judge:
                                                 )
 EIRIK RORVIG and NATIONS LENDING                )
 CORPORATION,                                    )
                                                 )
                  Defendants.                    )

                   COMPLAINT FOR INJUNCTIVE RELIEF, DAMAGES,
                          AND DEMAND FOR JURY TRIAL

        Guaranteed Rate, Inc. (“GRI” or the “Company”), by and through its attorneys, brings this

Complaint against Eirik Rorvig (“Rorvig”) and Nations Lending Corporation (“Nations”)

(collectively, the “Defendants”), and alleges as follows:

                                    NATURE OF THE CASE

        1.     GRI brings this action to stop Defendants from misusing GRI confidential

information and systematically, methodically, and purposefully pilfering entire groups of GRI

employees.

        2.        GRI brings claims of breach of contract, misappropriation of trade secrets, and

breach of fiduciary duty against Rorvig. GRI’s claims against Rorvig stem from his misuse of GRI

confidential information, which is a trade secret under both Federal and Wisconsin law, to

improperly solicit GRI employees that he managed or worked with at GRI to resign and join him

at Nations. Rorvig’s actions also violate the contractual non-solicitation and confidentiality

obligations Rorvig owed GRI. To the extent this misconduct occurred while he was still employed

and being paid by GRI, GRI brings a claim against Rorvig for breach of his fiduciary duty of

loyalty to GRI.


15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 2 of 38 PageID #:2




        3.     More specifically, Rorvig is a former GRI employee who is now employed by

Nations, a direct competitor of GRI. In the span of one month, eight (8) GRI employees, including

Rorvig, abruptly resigned from GRI and moved to Nations. Shortly thereafter, seven (7) additional

GRI employees who worked with or under Rorvig resigned to move to Nations, and several other

GRI employees received communications from Rorvig soliciting them to work at Nations. As a

GRI producing branch manager, Rorvig used his knowledge of and access to GRI confidential

information about employee compensation, benefits, training, hiring techniques, and other

personnel matters to unfairly compete with GRI and solicit employees to Nations.

        4.     GRI also brings claims of tortious interference with a contract and tortious

inducement of breach of fiduciary duty against Nations. GRI’s claims against Nations stem from

Nations’ knowing and intentional encouragement and inducement of former and current GRI

employees, including but not limited to Rorvig, to breach the contractual and fiduciary obligations

they owe GRI by soliciting GRI employees to join Nations.

        5.     Specifically, Nations, through Timothy Dowling (“Dowling”), a former GRI

employee and current Nations Midwest Regional Manager, conspired with Rorvig and potentially

others to solicit GRI employees to move to Nations since at least November 2021. In the span of

a few short months, fifteen (15) GRI employees from the same branch and/or region, including

Rorvig, have resigned from GRI to join Nations.

        6.     Despite receiving multiple cease and desist letters from GRI regarding this

misconduct, Rorvig and Nations (through Dowling and in its independent capacity) have persisted

in their improper solicitation of GRI employees, including as recently as March 14, 2022.

        7.     The full extent of Defendants’ unlawful conduct is presently unknown because

Rorvig has taken significant efforts to conceal his wrongdoing from GRI, including holding



                                                2
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 3 of 38 PageID #:3




meetings in person, texting on personal devices, and having oral conversations on the telephone.

On information and belief, Defendants are also communicating—or having people communicate

on their behalf—with GRI employees on personal email addresses, through social media platforms

(e.g., LinkedIn) and other channels hidden from GRI in order to covertly poach current GRI

employees. Defendants’ internal communications on Nations’ systems are also currently

inaccessible to GRI. Nevertheless, GRI has already uncovered substantial evidence of ongoing

misconduct by these Defendants that has harmed GRI, and that will continue to cause irreparable

harm unless Defendants are enjoined.

                                             PARTIES

        8.     GRI is a corporation organized and existing under the laws of the State of Delaware,

with its headquarters and principal place of business located at 3940 North Ravenswood Avenue

in Chicago, Illinois. GRI is a citizen of the State of Illinois. GRI is in the business of originating,

closing, and selling mortgage loans and related products, and is one of the leading mortgage

lenders in the United States.

        9.     Rorvig is an individual who resides in Madison, Wisconsin. Rorvig is a citizen of

the State of Wisconsin. Rorvig and GRI executed the Producing Branch Manager Compensation

Plan and Agreement on December 27, 2019. (“Rorvig Agreement,” attached hereto as Exhibit A.)

        10.    Nations Lending Corporation is an Ohio corporation with its headquarters and

principal place of business located at 4 Summit Park Drive, Suite 200, Independence, Ohio.

                                 JURISDICTION AND VENUE

        11.    This Court has original jurisdiction, pursuant to 28 U.S.C. §1331, because this

action involves a claim arising under the laws of the United States, the Defend Trade Secrets Act




                                                  3
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 4 of 38 PageID #:4




of 2016, 18 U.S.C. §1832, et seq. This Court has supplemental jurisdiction over the remaining

claims pursuant to 28 U.S.C. § 1367.

        12.    This Court also has original jurisdiction, pursuant to 28 U.S.C. § 1332(a)(1), as this

is a civil action between parties of diverse citizenship and the amount in controversy exceeds

$75,000.

        13.    Venue is proper under 28 U.S. Code § 1391 because much of the wrongdoing and

the harms associated with that wrongdoing occurred in this judicial district. In addition, both

Rorvig and Nations conduct business in this District.

        14.    Furthermore, Rorvig consented to the exclusive jurisdiction of and venue in the

federal court located in Cook County, Illinois, for the purpose of actions arising out of his

employment with GRI and/or the Rorvig Agreement. (Ex. A, p. 16.)

                                    BACKGROUND FACTS

                                                GRI

        15.    GRI is a residential mortgage lender and is licensed to do business in every state.

GRI employs loan officers across the country to offer residential mortgage loans to consumers.

GRI is one of the top five retail mortgage lenders in the United States, and GRI and its affiliated

companies funded more than $73 billion in loans in 2020.

        16.    GRI has found success in the mortgage industry through its operations model and

organizational structure, which includes a corporate office located in Chicago, Illinois and branch

offices strategically located in key areas around the country, including a significant presence in the

Midwest.

        17.    The branch offices service the surrounding areas and mainly contain local sales

teams made up of loan officers and operations support staff.



                                                  4
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 5 of 38 PageID #:5




        18.    These branch offices are run by branch managers, whose duties include overseeing

and building the branch operations, recruiting top loan originators, and oftentimes managing loan

processers and operational staff.

        19.    Loan officers are licensed salespeople who source potential borrowers, take loan

applications, and quote mortgage rates.

        20.    GRI’s operations staff help loan officers source business, collect loan documents,

and otherwise process loans by completing assorted tasks. GRI’s operations staff have various

titles depending on their specific job duties, including Loan Coordinator and Licensed Sales

Assistant.

        21.    Each position plays a pivotal role in GRI’s success. As a result, GRI invests

substantial time and money training and developing its employee base. Moreover, GRI expends

substantial time and money building up its various branches in regions across the country to ensure

success in cultivating and building local contacts, goodwill, and market share.

        22.    GRI equips its employees with the tools they need to provide excellent client

service and close mortgage loans for customers and prospective customers. GRI provides

employees access to a trove of GRI confidential and proprietary information, cutting-edge

technology and other resources. GRI also equips its loan officers with a variety of marketing

resources that enable them to grow GRI’s customer base and referral networks, building up from

the local branch levels to benefit the regions and the company as a whole.

        23.    GRI protects the confidential and proprietary information described in paragraph

22 by, among other things: limiting the disclosure and use of this information to only the GRI

employees who need this information to perform their duties on behalf of GRI; developing and

implementing policies and procedures regarding the use and protection of confidential



                                                5
15596769 v3
         Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 6 of 38 PageID #:6




information; restricting access to this information by restricting access to computer networks and

requiring the use of passwords to access its networks; and requiring employees to execute written

agreements that protect against the misuse and improper disclosure of this information.

          24.   GRI receives a financial and economic benefit as a result of the above information

being kept confidential and not publicly available. Indeed, and as this Complaint describes in more

detail below, a GRI competitor would receive a significant economic benefit and other industry

advantages if the information was stolen and then used by a competitor.

          25.   Similarly, a GRI competitor could not easily replicate or reengineer the confidential

information described above without incurring significant economic, technological and labor

costs.

                RORVIG’S EMPLOYMENT AND AGREEMENT WITH GRI

          26.   As a condition of his employment, Rorvig signed the Rorvig Agreement on

December 27, 2019. (Ex. A, pp. 8, 17.)

          27.   As a Producing Branch Manager in Wisconsin, Rorvig’s duties included procuring

customers for the sale of mortgage loans to be secured by residential real estate through direct

customer contact. He also assisted in recruiting top originators, strengthening his branch

operations, and managing the operations and employees of his branch.

          28.   As a Producing Branch Manager, Rorvig was entrusted with GRI’s confidential

information to assist him with these duties. The confidential information, as defined in the Rorvig

Agreement (“Confidential Information”), included but was not limited to information about GRI’s

local sales, operations, business, personnel matters, the identity of GRI’s top-performing

employees, hiring criteria, pricing and cost structure of GRI’s products and services, client or

potential client identities, client relationship histories, and training techniques. (Ex. A, p. 13.)



                                                   6
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 7 of 38 PageID #:7




        29.    As a Producing Branch Manager, Rorvig used GRI’s Confidential Information on

a daily basis in order to perform the duties and obligations he owed GRI.

        30.    As a Producing Branch Manager located in Wisconsin, Rorvig reported up to

Dowling, GRI’s Midwest Regional Manager until May 14, 2021, when Dowling resigned from

GRI to join Nations as a Midwest Regional Manager.

        31.    The Rorvig Agreement contains a Non-Solicitation Provision, which includes

specific and unambiguous restrictions on the solicitation of GRI employees during a Restricted

Period (“Non-Solicitation Obligation”). (Ex. A, pp. 14-15.) The Restricted Period for Rorvig is

defined as “the period beginning with the first date of your employment with the Company and

ending 24 months after the last day of your employment.” (Id. at 14.)

        32.    The Non-Solicitation Provision states:

               During the Restricted Period, you may not, directly or indirectly, solicit or
               attempt to solicit, entice, recruit influence, persuade, induce, promote,
               facilitate, encourage or assist in the solicitation of any Person
               employed/engaged by the Company during your last 12 months of
               employment with the Company or during the remainder of the Restricted
               Period to end their employment/engagement with the Company and/or join
               you as a partner, agent, employee, independent contractor or otherwise in a
               business venture or other business relationship with which you become
               employed or affiliated….During the Restricted Period, you may not
               supervise, manage, or oversee the work of any former employee of the
               Company, the identity of which you learned during your employment with
               the Company.

               You may ask the Company to provide you with written consent to engage
               in any of the foregoing activities. The Company may approve or deny any
               such request in the Company’s sole discretion.
               If you fail to comply with any provision of this Section V(d), you must
               pay to the Company as liquidated damages, and not as a penalty, an
               amount equal to fifty-thousand dollars ($50,000) for each such instance
               of non-compliance, and the Restricted Period will be extended an
               additional 24 months from the date of non-compliance. Your payment
               of such liquidated damages will not relieve you of any other obligation or
               amounts that you owe the Company under this Agreement. You understand
               and acknowledge that the payment of these liquidated damages is fair and

                                                 7
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 8 of 38 PageID #:8




               equitable consideration for any failure by you to comply with this Section
               V(d), and is not a penalty. You must pay all of the Company’s reasonable
               attorneys’ fees and all costs and expenses relating to or arising out of any
               action to enforce, defend or prosecute any provision of this Section V(d).

(Ex. A, pp. 14-15.)(emphasis in original.)

        33.    The Rorvig Agreement also contains a Non-Disclosure of Confidential Information

Provision, which includes specific and unambiguous restrictions on using and disclosing GRI

Confidential Information, as defined therein, for GRI-business purposes only (“Confidentiality

Obligation”). The Non-Disclosure of Confidential Information Provision states:

               (a) Confidential Information

               During your employment with the Company, you may discover, develop,
               and/or be entrusted with (a) confidential and proprietary information and
               trade secrets that are or will be owned by the Company and are not available
               to the general public or the Company’s competitors, including information
               about the Company’s sales, operations, financial condition, financial
               projections, profit margins, personnel matters, the identity of the
               Company’s top-performing employees, hiring criteria and training
               techniques, business goals, strategic plans, promotional strategies, pricing
               and cost structure, client or potential client identities, client relationship
               histories, client records, client service matters, client preferences, identity
               of vendors and suppliers, special vendor and supplier relationships, pricing
               and delivery terms, computer programs and codes, and other confidential
               aspects of the Company and its business and operations; (b) information for
               which the Company is subject to confidentiality requirements due to
               contractual and/or regulatory obligations; and (c) other matters, documents,
               materials and information belonging or relating to the Company
               (collectively “Confidential Information”). The Company has developed and
               will develop a wealth of intimate knowledge regarding its Confidential
               Information and, for these and other reasons, the Company has a legitimate
               and protectable interest in the identity of its Confidential Information,
               including the identity of its clients and the method of operations utilized by
               the Company.

               (b) Use of Company’s Confidential Information

               As consideration for your employment, you will not use any Confidential
               Information for your own benefit, or divulge to or use the Confidential
               Information for the benefit of any competitor, customer, or any other Person
               or entity. You may not seek or accept any Confidential Information from


                                                 8
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 9 of 38 PageID #:9




                  any Person, unless you are expressly authorized by the Company to do so
                  in connection with your employment duties and obligations under this
                  Agreement.

                  Confidential Information includes the identities of clients and borrowers for
                  whom you originated loans while an employee of the Company. However,
                  you may contact and/or solicit these persons during or after your
                  employment with the Company, provided that no such Person (i) has
                  submitted a loan application to the Company at that time, or would have
                  submitted a loan application to the Company but for you actions or
                  omissions, (ii) has a loan in process with the Company at that time, or would
                  have had a loan in process with the Company but for your act or
                  omissions,(iii) has closed a loan with the Company and the Early
                  Prepayment Period set forth in the loan purchase and sale agreement entered
                  into by and between the Company and the investor has not expired.

(Ex. A, pp. 13-14.)

        34.       By signing the Rorvig Agreement, Rorvig acknowledged that the Non-Solicitation

and Non-Disclosure of Confidential Information Provisions in the Rorvig Agreement “are

reasonable in all respects and are necessary to protect the legitimate business and competitive

interests of [GRI].” (Ex. A, p. 15.)

        35.       Because the Non-Solicitation and Confidentiality Obligations are intended to

survive after an employee leaves GRI, the Rorvig Agreement also contains a provision whereby

Rorvig is obligated to notify prospective employers of his ongoing obligations to GRI

(“Notification Obligation”). The Notification Obligation states:

                  You must notify any prospective employer or other Person for whom you
                  plan to provide loan-related services about your obligations in this Section
                  V, and that such Person may obtain a copy of these obligations from the
                  Company’s Human Resources or Legal Department.

(Ex. A, p. 13.)

        36.       Accordingly, and based upon information and belief, Rorvig notified Nations of the

Non-Solicitation and Non-Disclosure of Confidential Information Provisions in the Rorvig

Agreement, and the duties and obligations he owes GRI under those provisions.


                                                    9
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 10 of 38 PageID #:10




        37.    Unfortunately, and as more fully explained below, Rorvig chose to ignore and

violate the duties and obligations he owes GRI.

        38.    Also and as more fully explained below, and based upon information and belief,

Nations either encouraged, or turned a blind eye to, Rorvig ignoring and violating the duties and

obligations he owes GRI.

               RORVIG VIOLATES THE AGREEMENT AND THE DUTIES AND
                           OBLIGATIONS HE OWES GRI

        39.    The Non-Solicitation Obligation, Confidentiality Obligation, and Notification

Obligation (together, the “Post-Employment Obligations”) apply both during and after an

employee’s employment with GRI.

        40.    Occasionally, former employees run afoul of their Post-Employment Obligations.

When GRI suspects an employee has or will violate their Post-Employment Obligations, GRI’s

legal team sends letters both to the former employee and to the new employer, putting all parties

on notice of these Post-Employment Obligations.

        41.    Rorvig resigned from GRI effective December 23, 2021. Shortly thereafter, in

January 2022, Rorvig began working at Nations as a producing branch manager, the same title he

held at GRI.

        42.    Before resigning from GRI, Rorvig actively solicited GRI employees to leave GRI

and join him at Nations.

        43.    For example, prior to November 24, 2021, Rorvig met with GRI employees who

were members of his GRI team at his home to discuss the GRI employees leaving GRI and joining

Nations.

        44.    Rorvig also had other meetings with GRI employees, outside of his home and

before he resigned from GRI, where Rorvig spoke with the GRI employees about leaving GRI and


                                                  10
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 11 of 38 PageID #:11




joining Nations.

        45.   During these meeting(s) with GRI employees that occurred before Rorvig resigned

from GRI, Rorvig actively solicited GRI employees to leave GRI and join Nations.

        46.   Based upon information and belief, Rorvig used and relied on GRI Confidential

Information, including confidential GRI compensation information, to solicit GRI employees to

leave GRI and join Nations.

        47.   Rorvig also had meetings and conversations with Dowling, now a Nations

employee and business leader, before he resigned from GRI about soliciting and moving other GRI

employees to Nations.

        48.   Before resigning from GRI, Rorvig also met and spoke with others at Nations, and

received “positive feedback” from Nations, about meeting with and soliciting GRI employees to

leave GRI and join Nations.

        49.   As a result of Rorvig’s solicitations, several GRI employees Rorvig managed or

worked with at GRI—including 1) Meredith Richardson; 2) Kyle McManners; 3) Randy Barwick;

4) Chris Rollins; and 5) Paul Gagne—left GRI and joined Nations.

        50.   Based upon information and belief, the five former employees mentioned in

Paragraph 49 are now working directly with or for Rorvig at Nations.

        51.   Based upon information and belief, Nations knew that Rorvig contacted and/or

spoke with Richardson, McManners, Barwick, Rollins, and Gagne about leaving GRI and joining

Nations before Rorvig resigned from GRI.

        52.   Based upon information and belief, Nations encouraged Rorvig to solicit GRI

employees Richardson, McManners, Barwick, Rollins, and Gagne to leave GRI and join Nations

before Rorvig resigned from GRI.



                                              11
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 12 of 38 PageID #:12




        53.    Based upon information and belief, Nations knew that Rorvig soliciting GRI

employees Richardson, McManners, Barwick, Rollins, and Gagne to leave GRI and join Nations

violated the Rorvig Agreement.

        54.        GRI sent Rorvig a cease and desist letter on January 5, 2022 because Rorvig was

violating the Non-Solicitation and Confidentiality Obligations he owed GRI. (January 5, 2022

Cease and Desist Letter (“First Rorvig Letter”), attached hereto as Exhibit B.) In the First Rorvig

Letter, GRI noted that:

               Recently, the following Guaranteed Rate employees whom you managed or
               worked with resigned in a manner that appears staggered and deliberately
               coordinated: 1) Meredith Richardson (December 10, 2021); 2) Kyle
               McManners (December 23, 2021); 3) Randy Barwick (December 29, 2021);
               4) Chris Rollins (December 30, 2021); and 5) Paul Gagne (January 4, 2022).
               We suspect you used Guaranteed Rate Confidential Information regarding
               the identities, performance and compensation of these individuals to recruit
               them to work at Nations, and that you are doing so in conjunction with
               former Guaranteed Rate employee Timothy Dowling (current Nations
               Midwest Regional Manager).

(Ex. B, p. 1-2.)

        55.    In the First Rorvig Letter, GRI demanded that Rorvig immediately cease and desist

all actions that constitute violations of his Non-Solicitation and Confidentiality Obligations to GRI,

and reminded him that, under the Rorvig Agreement, he would be liable for $50,000 in damages

for each violation of the Non-Solicitation Obligation. (Ex. B, p. 2.) GRI also informed Rorvig that,

to the extent any violations of the Non-Solicitation and Confidentiality Obligations occurred while

he still worked for GRI, such violations would also constitute a breach of the fiduciary duties

Rorvig owed GRI. (Id.)

        56.    GRI copied Nations on the First Rorvig Letter “to make it aware of [Rorvig’s]

continuing obligations to Guaranteed Rate and of these issues.” (Ex. B, p. 2.) GRI also demanded

that Nations and Rorvig take steps to maintain and preserve documents related to these issues. (Id.)


                                                 12
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 13 of 38 PageID #:13




        57.    Unfortunately, Rorvig’s solicitation of GRI employees did not cease after GRI

issued the First Rorvig Letter to Rorvig and Nations.

        58.    Instead, Rorvig continued soliciting GRI employees that he managed or worked

with, including GRI employees Richard Cohen, Lee Kampa, and Dawn Kaczmark, to leave GRI

and join Nations.

        59.    Based upon information and belief, Rorvig used and relied on GRI Confidential

Information, including confidential GRI compensation information, to solicit Cohen, Kampa, and

Kaczmark to leave GRI and join Nations.

        60.    Based upon information and belief, Nations knew that Rorvig contacted and/or

spoke with Cohen, Kampa, and Kaczmark about leaving GRI and joining Nations.

        61.    Based upon information and belief, Nations was aware of Rorvig soliciting GRI

employees Cohen, Kampa, and Kaczmark to leave GRI and join Nations.

        62.    Based upon information and belief, Nations encouraged Rorvig to solicit GRI

employees Cohen, Kampa, and Kaczmark to leave GRI and join Nations.

        63.    Based upon information and belief, Nations knew that Rorvig soliciting GRI

employees Cohen, Kampa, and Kaczmark to leave GRI and join Nations violated the Rorvig

Agreement.

        64.    As a result of Rorvig’s and Nations’ continued illegal activity, on January 18, 2022,

GRI sent Rorvig a second cease and desist letter. (January 18, 2022 Cease and Desist Letter

(“Second Rorvig Letter”), attached hereto as Exhibit C.) In the Second Rorvig Letter, GRI noted

that since it had sent the First Rorvig Letter, three (3) additional GRI employees whom Rorvig

managed or worked with had resigned in quick succession to join Nations:

               Since I sent the January 5th Letter, and indeed since your response on
               January 7th, we have learned that three other Guaranteed Rate employees


                                                13
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 14 of 38 PageID #:14




                 whom you managed or with whom you worked resigned, and we have
                 reason to believe they will be joining you and Tim Dowling at Nations
                 Lending (“Nations”), your new employer. Specifically, we learned that
                 Richard Cohen resigned on January 10, 2022, Lee Kampa resigned on
                 January 14, 2022, and Dawn Kaczmark resigned on January 17, 2022. Their
                 resignations appear to be a continuation of the coordinated campaign waged
                 by you and Mr. Dowling to solicit Guaranteed Rate employees to Nations:
                 1) Meredith Richardson (December 10, 2021); 2) Kyle McManners
                 (December 23, 2021); 3) Randy Barwick (December 29, 2021); 4) Chris
                 Rollins (December 30, 2021); and 5) Paul Gagne (January 4, 2022). We
                 suspect you used Guaranteed Rate Confidential Information regarding the
                 identities, performance and compensation of these individuals to recruit
                 them to work at Nations.

(Ex. C, p. 1.)

        65.      At Nations, Rorvig manages and/or directly works with several of these former GRI

employees, including Gagne, McManners, Rollins, Kampa, Kaczmark, and Cohen.

        66.      In the Second Rorvig Letter, GRI informed Rorvig that its investigation into his

violations had unearthed evidence that Rorvig was working in conjunction with Dowling to solicit

GRI employees to Nations, in violation of both of their Post-Employment Obligations to GRI:

                 Specifically, we have found emails from Joe Noonan to you and Mr. Cohen
                 detailing his conversations with you both regarding the circumstances of
                 your moves from Guaranteed Rate to Nations. In one email, dated
                 November 24, 2021 and with the subject ‘Factors to Decision  New
                 Mortgage Company,’ Mr. Noonan provides notes from his conversation
                 with you, detailing the following: 1) you met with your team at your home
                 the previous day to discuss moving to a new mortgage company and that it
                 was a ‘productive’ conversation; and 2) you had ‘[g]reat conversations with
                 Tim Dowling @ Nations Bank.’ In another email, dated December 14,
                 2021, Mr. Noonan writes to Mr. Cohen recapping their conversation, noting
                 that Mr. Cohen is ‘[e]xcited to move to Nations Bank in January with Eirik’s
                 team’ and that Mr. Cohen had ‘[s]poke[n] to team members at Nations and
                 feedback is positive.’

(Ex. C, p. 1-2.)



        67.      GRI copied Nations on the Second Rorvig Letter to again “make it aware of



                                                  14
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 15 of 38 PageID #:15




[Rorvig’s] continuing obligations to Guaranteed Rate and of these issues.” (Ex. C, p. 2.) GRI also

reiterated its demand that Rorvig and Nations maintain and preserve all documents related to this

dispute. (Id.)

        68.      On February 1, 2022, GRI sent Rorvig a third and final cease and desist letter in an

effort to get his violations to stop. (February 1, 2022 Letter (“Third Rorvig Letter”), attached hereto

as Exhibit D.) In the Third Rorvig Letter, GRI again outlined Rorvig’s many violations of his

Non-Solicitation and Confidentiality Obligations to GRI, and demanded written assurances from

Rorvig that he would stop misusing GRI Confidential Information and soliciting GRI employees

in violation of his Non-Solicitation and Confidentiality Obligations to GRI. (Id. at 2-3.)

        69.      In the Third Rorvig Letter, GRI also sought to resolve this dispute but its overtures

were rebuffed. (Ex. D, p. 2-3.)

        70.      As of the date of this filing, Rorvig continues to violate his Non-Solicitation and

Confidentiality Obligations to GRI. Since GRI sent the Third Rorvig Letter, GRI has learned that

Rorvig has contacted and/or spoken with at least four GRI branch managers about leaving GRI

and joining Nations.

        71.      One of these branch managers, Tony Burns, resigned from GRI on March 29, 2022

to join Nations.

        72.      Based on Rorvig’s flagrant violations of his Non-Solicitation and Confidentiality

Obligations—many of which occurred even after he received cease and desist letters from GRI—

there is little doubt that Rorvig will continue his campaign to misuse GRI Confidential Information

and improperly solicit GRI employees unless enjoined.

                      ADDITIONAL ILLEGAL ACTIVITY BY NATIONS

        73.      Dowling resigned from his position as GRI’s Midwest Regional Manager on May



                                                  15
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 16 of 38 PageID #:16




14, 2021. Shortly thereafter, Dowling began working for Nations as its Midwest Regional

Manager.

        74.        As part of his employment with GRI, Dowling had executed an employment

agreement with GRI that contains the same Non-Solicitation and Confidentiality Obligations as

the Rorvig Agreement.

        75.        On May 25, 2021, GRI sent a letter to Dowling reminding him of his Post-

Employment Obligations to GRI. (May 25, 2021 Letter (“Reminder Letter”), attached hereto as

Exhibit E.) In the Reminder Letter, GRI advised Dowling of his ongoing Non-Solicitation and

Confidentiality Obligations to GRI. (Id.)

        76.        GRI copied Nations on the Reminder Letter in order to make Nations aware of

Dowling’s Post-Employment Obligations to GRI. (Ex. E.)

        77.        On January 5, 2022, GRI sent Dowling a cease and desist letter because it had

strong reason to believe Dowling had violated his Non-Solicitation and Confidentiality

Obligations to GRI. (January 5, 2022 Cease and Desist Letter (“First Dowling Letter”), attached

hereto as Exhibit F.) In the First Dowling Letter, GRI noted the basis for its belief in Dowling’s

misconduct:

                   Recently, the following Guaranteed Rate employees resigned in a manner
                   that appears staggered and deliberately coordinated: 1) Meredith
                   Richardson (December 10, 2021); 2) Barbara Miller (December 20, 2021);
                   3) Eirik Rorvig (December 23, 2021); 4) Kyle McManners (December 23,
                   2021); 5) Randy Barwick (December 29, 2021); 6) Chris Rollins (December
                   30, 2021); and 7) Paul Gagne (January 4, 2022). These are individuals
                   whom you managed at Guaranteed Rate or who worked directly with
                   individuals you managed at Guaranteed Rate. We suspect you used
                   Guaranteed Rate Confidential Information regarding the identities,
                   performance and compensation of these individuals to recruit them to work
                   at Nations.

(Ex. F, p. 1-2.)



                                                  16
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 17 of 38 PageID #:17




        78.      GRI copied Nations on the First Dowling Letter in order “to make it aware of

[Dowling’s] continuing obligations to Guaranteed Rate and of these issues.” (Ex. F, p. 2.) GRI

also demanded that Nations and Dowling take steps to maintain and preserve documents related

to these issues. (Id.)

        79.      Subsequently, on January 18, 2022, GRI sent Dowling a second cease and desist

letter. (January 18, 2022 Cease and Desist Letter (“Second Dowling Letter”), attached hereto as

Exhibit G.) In the Second Dowling Letter, GRI noted that since it had sent the First Dowling

Letter, three (3) additional GRI employees whom Dowling managed or worked with had resigned

in quick succession to join Nations:

                 Since I sent the January 5th Letter, and indeed since your response on
                 January 7th, we have learned that three other Guaranteed Rate employees
                 resigned, and we have reason to believe they will be joining you and Eirik
                 Rorvig at Nations Lending (“Nations”), your employer. Specifically, we
                 learned that Richard Cohen resigned on January 10, 2022, Lee Kampa
                 resigned on January 14, 2022, and Dawn Kaczmark resigned on January 17,
                 2022. Their resignations appear to be a continuation of the coordinated
                 campaign waged by you and Mr. Rorvig to solicit Guaranteed Rate
                 employees to Nations: 1) Meredith Richardson (December 10, 2021); 2)
                 Barbara Miller (December 20, 2021); 3) Mr. Rorvig himself (December 23,
                 2021); 4) Kyle McManners (December 23, 2021); 5) Randy Barwick
                 (December 29, 2021); 6) Chris Rollins (December 30, 2021); and 7) Paul
                 Gagne (January 4, 2022). The above are individuals whom you managed at
                 Guaranteed Rate or who worked directly with individuals you managed at
                 Guaranteed Rate. We suspect you used Guaranteed Rate Confidential
                 Information regarding the identities, performance and compensation of
                 these individuals to recruit them to work at Nations.

(Ex. G, p. 1.)

        80.      In the Second Dowling Letter, GRI informed Dowling that its investigation into his

violations had unearthed evidence that Dowling was working in conjunction with Rorvig to solicit

GRI employees to Nations, in violation of both of their Post-Employment Obligations to GRI:

                 Specifically, we have found emails from Joe Noonan to Mr. Rorvig and Mr.
                 Cohen detailing his conversations with them regarding the circumstances of


                                                 17
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 18 of 38 PageID #:18




                their moves from Guaranteed Rate to Nations. In one email, dated
                November 24, 2021 and with the subject ‘Factors to Decision  New
                Mortgage Company,’ Mr. Noonan provides Mr. Rorvig with notes from
                their conversation, detailing the following: 1) Mr. Rorvig met with his team
                at his home the previous day to discuss moving to a new mortgage company
                and that it was a ‘productive’ conversation; and 2) Mr. Rorvig had ‘[g]reat
                conversations with Tim Dowling @ Nations Bank.’ In another email, dated
                December 14, 2021, Mr. Noonan writes to Mr. Cohen recapping their
                conversation, noting that Mr. Cohen is ‘[e]xcited to move to Nations Bank
                in January with Eirik’s team’ and that Mr. Cohen had ‘[s]poke[n] to team
                members at Nations and feedback is positive.’

(Ex. G, p. 1-2.)

        81.     GRI copied Nations on the Second Dowling Letter in order to, again, “make it

aware of [Dowling’s] continuing obligations to Guaranteed Rate and of these issues.” (Ex. G, p.

2.) GRI also reiterated its demand that Dowling and Nations maintain and preserve all documents

related to this dispute. (Id.)

        82.     On February 1, 2022, GRI sent Dowling a third and final cease and desist letter in

an effort to get his violations to stop. (February 1, 2022 Letter (“Third Dowling Letter”), attached

hereto as Exhibit H.) In the Third Dowling Letter, GRI again outlined Dowling’s many violations

of his Non-Solicitation and Confidentiality Obligations to GRI, and demanded written assurances

from Rorvig that he would stop misusing GRI Confidential Information and soliciting GRI

employees in violation of his Non-Solicitation and Confidentiality Obligations to GRI. (Id. at 2-

3.)

        83.     In the Third Dowling Letter, GRI also sought to resolve this dispute, but its

overtures were rebuffed. (Ex. H, p. 2-3.)

        84.     On February 3, 2022, GRI sent Nations a letter regarding the ongoing violations of

Dowling, its Midwest Regional Manager, and Rorvig, its Producing Branch Manager. (February

3, 2022 Letter (“Nations Letter”), attached hereto as Exhibit I.)



                                                 18
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 19 of 38 PageID #:19




        85.    In the Nations Letter, GRI demanded, among other things, that Nations instruct

Dowling and Rorvig to stop misusing GRI Confidential Information and soliciting GRI employees

in violation of their Non-Solicitation and Confidentiality Obligations to GRI. (Ex. I, p. 2.)

        86.    In the Nations Letter, GRI informed Nations that it would take necessary steps to

enforce its contractual rights and legitimate business interests, and that it may seek damages and

injunctive relief against Dowling, Rorvig and Nations if the violations of Dowling’s and Rorvig’s

Non-Solicitation and Confidentiality Obligations to GRI continued. (Ex. I, p. 2.)

        87.    Unfortunately and based upon the continued actions of Rorvig and Dowling,

Nations did not instruct Dowling and Rorvig to stop misusing GRI Confidential Information.

        88.    Nor did Nations instruct Rorvig and Dowling to stop soliciting GRI employees.

        89.    Not surprisingly then, even after the Nations Letter was sent, Nations continues to

pilfer GRI employees from the Midwest Region.

        90.    On information and belief, this poaching of GRI employees is happening through

Rorvig and Dowling (and potentially other former and current GRI employees) and with the

assistance and misuse of GRI Confidential Information.

        91.    More specifically, on February 16, 2022, Katie Dorece, a vice president for market

growth in the Wisconsin/Illinois Region of GRI’s Midwest Division, resigned from GRI to join

Nations as a senior recruiter.

        92.    On March 15, 2022, Nick Wurzer, a branch manager from GRI’s Wisconsin/Illinois

Region, resigned from GRI to join Nations.

        93.    When resigning, Wurzer preemptively went out of his way to declare that Dowling

never contacted him, and confirmed that Rorvig had contacted him regarding the compensation

model at Nations.



                                                 19
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 20 of 38 PageID #:20




        94.     On March 15, 2022, Adam Cook, a GRI loan officer who reported to Wurzer

resigned to go to Nations. Dorece, a former GRI vice president for market growth now working

for Nations, sent Cook messages on LinkedIn on or around the time Cook resigned from GRI.

        95.     On March 21, 2022, Matt Hoekstra, a GRI loan officer who reported to Wurzer

resigned to go to Nations.

        96.     On March 29, 2022, Tony Burns, a branch manager from GRI’s Wisconsin/Illinois

Region, resigned from GRI to join Nations. Rorvig had solicited Burns to join Nations prior to

Burns’ resignation from GRI.

        97.     As of this filing and since Dowling joined Nations in May 2021 as its Midwest

Regional Manager, the following GRI employees have been improperly solicited and poached

from the Wisconsin/Illinois Region of GRI’s Midwest Division through Dowling as Nations’

Midwest Manager and/or through Rorvig before and after Rorvig resigned from GRI:

         Name                        GRI Resignation Date        GRI Position

         Meredith Richardson         December 10, 2021           Loan Coordinator who
                                                                 worked with Barbara Miller

         Barbara Miller              December 20, 2021           Branch Manager in the
                                                                 Wisconsin/Illinois Region
                                                                 who reported to Dowling

         Eirik Rorvig                December 23, 2021           Branch Manager in the
                                                                 Wisconsin/Illinois Region
                                                                 who reported to Dowling

         Kyle McManners              December 23, 2021           Loan officer who reported to
                                                                 Rorvig

         Randy Barwick               December 29, 2021           Area Manager who reported
                                                                 to Dowling

         Chris Rollins               December 30, 2021           Loan officer who reported to
                                                                 Rorvig



                                              20
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 21 of 38 PageID #:21




         Paul Gagne                    January 4, 2022               Sales assistant who reported
                                                                     to Rorvig

         Richard Cohen                 January 10, 2022              Loan officer who reported to
                                                                     Rorvig

         Lee Kampa                     January 14, 2022              Loan officer who reported to
                                                                     Rorvig

         Dawn Kaczmark                 January 17, 2022              Loan officer who reported to
                                                                     Rorvig

         Katie Dorece                  February 16, 2022             Vice president for market
                                                                     growth         in       the
                                                                     Wisconsin/Illinois Region

         Nick Wurzer                   March 15, 2022                Branch manager in the
                                                                     Wisconsin/Illinois Region

         Adam Cook                     March 15, 2022                Loan officer who reported to
                                                                     Wurzer

         Matt Hoekstra                 March 21, 2022                Loan officer who reported to
                                                                     Wurzer

         Tony Burns                    March 29, 2022                Branch manager in the
                                                                     Wisconsin/Illinois Region



        98.    These resignations have caused severe business and operations disruption to GRI,

as they include key figures from all levels of GRI’s loan origination process in its

Wisconsin/Illinois Region specifically, and its Midwest Division more generally. The losses to

GRI include four (4) branch managers, seven (7) loan officers, and various operations and sales

staff such as production managers, recruiters, loan coordinators and sales assistants.

        99.    Moreover, GRI is aware that Nations, through Rorvig and Dowling, continues to

solicit GRI employees.

        100.   In fact, three additional branch managers have been contacted by Rorvig in March

2022 leave GRI and join Nations.


                                                21
15596769 v3
      Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 22 of 38 PageID #:22




        101.   Rorvig’s contacting of the three additional branch managers was a solicitation by

Rorvig of the three branch managers and, based upon information and belief, approved and/or

encouraged by Nations.

        102.   In addition, Wurzer has almost certainly been in contact with, and solicited by,

Dowling given his preemptive denial of the same.

        103.   Nations has been aware of the Non-Solicitation and Confidentiality Obligations that

GRI’s former employees owe GRI since at least May 25, 2021, when GRI sent the Reminder Letter

to Dowling and copied Nations. (Ex. E.)

        104.   Moreover, Nations has been on notice of its employees’ violations of the Non-

Solicitation and Confidentiality Obligations since it was copied on the First and Second Rorvig

and Dowling Letters on January 5, 2022 and January 18, 2022, respectively, and since Nations

received a separate letter from GRI regarding these issues on February 3, 2022. (Ex. B, C, F, G,

I.)

        105.   Nevertheless, Nations continues its encouragement, inducement, and/or condoning

of its employees’ violations of the Non-Solicitation and Confidentiality Obligations they owe GRI.

        106.   Given Nations utter disregard for the Non-Solicitation and Confidentiality

Obligations the former GRI employees owe GRI, GRI has reason to believe that Nations will

continue this campaign to improperly poach and attempt to poach GRI employees—and enjoy the

ill-gotten benefits thereof—unless enjoined.

                         GRI’S RIGHT TO INJUNCTIVE RELIEF

        107.   Rorvig has materially breached his Agreement and fiduciary duties to GRI,

committed other violations of law, and is likely to continue to do so—and in fact has continued to

do so—unless enjoined as requested herein.



                                               22
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 23 of 38 PageID #:23




          108.   Nations has induced and encouraged Dowling and Rorvig to breach their

contractual and fiduciary obligations to GRI. Moreover, Nations has tortiously interfered and

unfairly competed with GRI by reaping the benefits of wrongfully poaching key figures from

GRI’s Midwest Region within short order and through ill-gotten means and information. Nations

is likely to continue this misconduct—and in fact has continued this misconduct—unless enjoined

as requested herein.

          109.   Defendants’ breaches and other violations of law have caused and will continue to

result in substantial, irreparable, and foreseeable harm to GRI for which there is no adequate

remedy at law.

          110.   Thus, without the preliminary and permanent injunctive relief requested herein,

GRI will continue to suffer substantial and irreparable harm for which there is no adequate remedy

at law.

          111.   GRI has a substantial likelihood of success on the merits of its claims.

          112.   The threat of harm to GRI in the absence of injunctive relief as requested herein far

outweighs the threat of any harm to Defendants if injunctive relief is granted. As noted above, GRI

faces substantial and irreparable harm if Defendants’ breaches and violations of law are permitted

to continue unabated.

          113.   In contrast, there is no hardship imposed on Defendants. Rorvig and Nations remain

free to conduct business, but without the unfair competitive aid of stolen and misused GRI

Confidential Information and improper solicitation of GRI employees and inducement to breach

contractual and fiduciary obligations. Defendants’ only burden is to comply with the law and for

Rorvig to comply with the Rorvig Agreement, compete fairly and lawfully in the market, and

refrain from reaping any illicit gain or benefit from the breach of his contractual and fiduciary



                                                  23
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 24 of 38 PageID #:24




obligations to GRI.

          114.   The public interest favors preventing Defendants from reaping illicit gains by

breaching or inducing the breach of contractual and fiduciary obligations to GRI and committing

other violations of law, including, among other things, misusing GRI’s Confidential Information

for their own benefit and to improperly solicit GRI employees.

                                              CLAIMS

       COUNT I – BREACH OF CONTRACT (CONFIDENTIAL INFORMATION)
                                (Against Rorvig)

          115.   GRI incorporates and re-alleges Paragraphs 1 through 114 as if fully set forth

herein.

          116.   The Rorvig Agreement is a valid and enforceable contract that imposes upon

Rorvig certain contractual obligations and restrictive covenants, including the Confidentiality

Obligation.

          117.   GRI has performed all of its obligations under the Rorvig Agreement or those

obligations are excused under the circumstances.

          118.   Pursuant to the Non-Disclosure of Confidential Information Provision in the Rorvig

Agreement, Rorvig was and is prohibited from seeking, accepting, providing, disclosing, or using

for his own benefit or the benefit competitor like Nations or other third party GRI Confidential

Information. Confidential Information includes, but is not limited to, information about GRI’s

sales, operations, business, personnel matters, the identity of GRI’s top-performing employees,

hiring criteria, pricing and cost structure of GRI’s products and services, client or potential client

identities, client relationship histories, and training techniques.

          119.   Rorvig misappropriated and/or misused GRI Confidential Information about GRI’s

top-performing employees in the Wisconsin/Illinois Region—employees whom he managed or


                                                  24
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 25 of 38 PageID #:25




who directly worked with him—to solicit them to Nations with competitive, lucrative offers. This

Confidential Information included data about their compensation, training, and the business

goodwill and contacts developed in the region through GRI’s resources, promotional strategies

and operations.

        120.   Rorvig’s misappropriation and/or misuse of GRI Confidential Information is a

breach of the explicit terms of the Rorvig Agreement, and GRI has suffered—and continues to

suffer—damages as a result of this breach.

        WHEREFORE, GRI respectfully requests that this Court enter judgment in its favor and

against Rorvig, award GRI compensatory damages in an amount in accord with the proofs, but in

any event, no less than $100,000 for Rorvig’s misappropriation and/or misuse of GRI’s

Confidential Information, enter an injunction enjoining Rorvig from using, possessing or accessing

GRI Confidential Information, award GRI its reasonable attorney’s fees and costs associated with

bringing this action, and award GRI any other and further relief this Court deems just and equitable.

   COUNT II – BREACH OF CONTRACT (NON-SOLICITATION OF EMPLOYEES)
                            (Against Rorvig)

        121.   GRI incorporates and realleges Paragraphs 1 through 120 as if fully set forth herein.

        122.   The Rorvig Agreement is a valid and enforceable contract that imposes upon

Rorvig certain contractual obligations and restrictive covenants, including the Non-Solicitation

Obligation.

        123.   GRI has performed all of its obligations under the Rorvig Agreement or those

obligations are excused under the circumstances.

        124.   Pursuant to the terms of the Rorvig Agreement, during the course of Rorvig’s

employment and for 24 months thereafter (“Restricted Period”), Rorvig could not and cannot,

directly or indirectly, solicit or attempt to solicit, entice, recruit influence, persuade, induce,


                                                 25
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 26 of 38 PageID #:26




promote, facilitate, encourage or assist in the solicitation of any Person employed/engaged by GRI

to end their employment with GRI and/or to join him in any new business venture or business

relationship with which he becomes employed or affiliated.

        125.   Pursuant to the terms of the Rorvig Agreement, Rorvig may not supervise, manage,

or oversee the work of any former GRI employee during the Restricted Period.

        126.   Pursuant to the explicit terms of the Agreement, in the event Rorvig breaches the

Non-Solicitation Provision of the Rorvig Agreement, he shall be liable to GRI for each employee

solicited in the amount of Fifty Thousand Dollars ($50,000) as liquidated damages.

        127.   As alleged above, Rorvig breached the Non-Solicitation Provision of the Rorvig

Agreement, in part or wholly while he was still employed by GRI, by soliciting or helping to solicit

at least 15 GRI employees from the Wisconsin/Illinois Region of GRI’s Midwest Division to leave

GRI and join Nations with him. As noted above, each of these individuals resigned from GRI

around the same time or shortly after Rorvig did, with contemporaneous correspondence showing

that Rorvig’s team members secretly met at Rorvig’s house to discuss moving to Nations to work

with Rorvig and Dowling. Rorvig managed or worked with these former GRI employees in the

Wisconsin/Illinois Region, and on information and belief, he manages or works directly with many

of them at Nations in its Midwest Region. Given the number of employees supervised by Rorvig

and the timing of their resignations, Rorvig improperly solicited his team members and others he

worked with in the Wisconsin/Illinois Region to depart GRI and join Nations.

        128.   Furthermore, since joining Nations, Rorvig has continued to breach the Non-

Solicitation Provision of the Rorvig Agreement by personally soliciting more current GRI

employees, including as least four branch managers in the Wisconsin/Illinois Region, one of whom

(Burns) resigned to join Nations. As a result of this conduct, GRI has suffered irreparable harm for



                                                26
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 27 of 38 PageID #:27




which there is no adequate remedy at law. Such irreparable harm will continue unless Rorvig is

enjoined as requested in the Prayer for Relief below.

        WHEREFORE, GRI respectfully requests this Court enter judgment in its favor and

against Rorvig, award GRI compensatory damages in an amount in accord with the proofs, but in

any event, no less than $100,000 for Rorvig’s unlawful solicitations, award GRI liquidated

damages in the amount of $50,000 for each of Rorvig’s unlawful solicitations, enter an injunction

enjoining Rorvig from soliciting GRI employees until after December 23, 2023, award GRI its

reasonable attorney’s fees and costs associated with bringing this action, and award GRI any other

and further relief this Court deems just and equitable.

                       COUNT III – BREACH OF FIDUCIARY DUTY
                                    (Against Rorvig)

        129.   GRI incorporates and realleges Paragraphs 1 through 128 as if fully set forth herein.

        130.   At all relevant times prior to his resignation from GRI, Rorvig was an employee of

GRI.

        131.   At all relevant times prior to his resignation from GRI, Rorvig owed to GRI

fiduciary duties of trust, loyalty, full disclosure, and good faith with respect to all matters within

the scope of his agency.




                                                 27
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 28 of 38 PageID #:28




        132.    Rorvig, while still employed by GRI, solicited his team members and other GRI

employees to terminate their employment with GRI and to join Nations. Rorvig’s breach of his

fiduciary duties by improperly soliciting GRI’s employees while still employed by GRI was willful

and intentional, as evidenced by contemporaneous emails showing that Rorvig’s team members

met secretly at his house to discuss joining Rorvig and Dowling at Nations. This particular meeting

occurred on November 23, 2021; Rorvig resigned from GRI on December 23, 2021. Moreover,

another email from before Rorvig’s resignation, dated December 14, 2021, showed that another

member of Rorvig’s team, Richard Cohen, was “excited to move to Nations Bank in January with

Eirik [Rorvig]’s team.”

        133.    Rorvig’s wrongful conduct has caused immediate, substantial, and ongoing injury

to GRI, including economic harm in the form of the disruption and damage to GRI’s relationships

with its valued employees, the continuing loss of its competitive position, loss of market share,

and lost profits.

        WHEREFORE, GRI requests this Court enter judgment in its favor and against Rorvig,

award GRI compensatory damages in an amount in accord with the proofs, award GRI its

reasonable attorney’s fees and costs incurred in bringing this action, order Rorvig to disgorge his

wrongful gains in an amount to be determined at trial, award GRI an additional amount constituting

forfeiture of any and all compensation in any form that Rorvig received or earned during, or that

was otherwise related to, all periods in which he was breaching his fiduciary duties to GRI, award

GRI punitive damages, award GRI prejudgment interest, and any other and further relief this Court

deems just and equitable.

               COUNT V – TORTIOUS INTERFERENCE WITH A CONTRACT
                                 (Against Nations)

        134.    GRI incorporates and realleges Paragraphs 1 through 133 as if fully set forth herein.


                                                 28
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 29 of 38 PageID #:29




        135.   The Rorvig Agreement is a valid and enforceable agreement between GRI and

Rorvig.

        136.   GRI has similar valid and enforceable employment agreements with the other

former GRI employees mentioned herein, including Dowling.

        137.   At all times, Nations was aware that the Rorvig Agreement was a valid and

enforceable contract.

        138.   At all times, Nations was aware that that GRI had valid and enforceable contracts

with its other former employees, including Dowling.

        139.   At a minimum, Nations was on notice of these contracts upon receiving the

Reminder Letter GRI sent to Dowling on May 25, 2021.

        140.   Nations induced Dowling, Rorvig and other former and current GRI employees to

breach their employment agreements with GRI by soliciting GRI employees and/or misusing GRI

Confidential Information to solicit GRI employees.

        141.   Specifically, Nations induced Dowling to breach his employment agreement with

GRI to solicit Rorvig and others to come to Nations.

        142.   Specifically, Nations induced Rorvig to breach the Rorvig Agreement and/or his

fiduciary duties to GRI by soliciting GRI employees to resign from GRI and join him at Nations.

        143.   Specifically, Nations continues to induce Dowling, Rorvig and other former and

current GRI employees to solicit GRI employees to resign from GRI and join Nations, in violation

of their contractual obligations to GRI.

        144.   Specifically, GRI is aware that Dowling, Rorvig and Dorece, as agents and

employees of Nations and due to Nations’ inducement, continue to solicit GRI employees in

violation of their Non-Solicitation and Confidentiality Obligations to GRI.



                                               29
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 30 of 38 PageID #:30




        145.    Nations has induced and benefited from Rorvig’s breach of the Rorvig Agreement.

        146.    Nations has induced and benefited from the other former GRI employees’ breach

of their Non-Solicitation and Confidentiality Obligations to GRI.

        147.    Nations’ wrongful conduct has caused immediate, substantial, and ongoing injury

to GRI, including economic harm in the form of the disruption and damage to GRI’s relationships

with its valued employees, the continuing loss of its competitive position, loss of market share,

and lost profits.

        148.    As a result of this conduct, GRI has suffered irreparable harm for which there is no

adequate remedy at law. Such irreparable harm will continue unless Nations is enjoined as

requested in the Prayer for Relief below.

        WHEREFORE, GRI respectfully requests this Court enter judgment in its favor and

against Nations, award GRI compensatory damages in an amount in accord with the proofs, but in

any event, no less than $100,000 for Nations’ tortious interference, award punitive damages, award

GRI its reasonable attorney’s fees and costs associated with bringing this action, and award GRI

any other and further relief this Court deems just and equitable.

     COUNT VI – TORTIOUS INDUCEMENT OF BREACH OF FIDUCIARY DUTY
                             (Against Nations)

        149.    GRI incorporates and realleges Paragraphs 1 through 148 as if fully set forth herein.

        150.    Nations colluded with Rorvig, while Rorvig was still employed by GRI, to solicit

employees to resign from GRI and join Nations.

        151.    Specifically, Dowling, as Nations’ Midwest Regional Manager, colluded with

Rorvig, while Rorvig was still employed by GRI, to divulge GRI Confidential Information about

GRI’s top-performing employees in the Wisconsin/Illinois Region and/or Midwest Division,




                                                 30
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 31 of 38 PageID #:31




including but not limited to their compensation and other personnel related information, to solicit

GRI employees to resign and join Nation through competitive job offers.

        152.    Contemporaneous records of meetings and conversations between Dowling and

Rorvig show that this collusion occurred before Rorvig resigned from GRI on December 23, 2021.

For example, one email dated November 24, 2021 with the subject “Factors to Decision  New

Mortgage Company” details how Rorvig had “[g]reat conversations with Tim Dowling @ Nations

Banks” and that Rorvig met with his team at his home the previous day to solicit them all to join

him at Nations. (Ex. G.)

        153.    Nations, through Dowling, induced and/or participated in Rorvig’s breach of

fiduciary duty in divulging and misusing GRI Confidential Information and soliciting GRI

employees to resign while he was still employed by GRI.

        154.    Nations obtained the benefit resulting from Rorvig’s breach of fiduciary duty in

that 12 key employees from GRI’s Midwest Region all resigned in short succession and joined

Nations shortly after Rorvig resigned.

        155.    The addition of these GRI employees to Nations unfairly and improperly transfers

a substantial section of GRI’s Midwest operations, local goodwill and contacts to Nations.

        156.    Nations’ wrongful conduct has caused immediate, substantial, and ongoing injury

to GRI, including economic harm in the form of the disruption and damage to GRI’s relationships

with its valued employees, the continuing loss of its competitive position, loss of market share,

and lost profits.

        157.    As a result of this conduct, GRI has suffered irreparable harm for which there is no

adequate remedy at law. Such irreparable harm will continue unless Nations is enjoined as

requested in the Prayer for Relief below.



                                                 31
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 32 of 38 PageID #:32




        WHEREFORE, GRI respectfully requests this Court enter judgment in its favor and

against Nations, award GRI compensatory damages in an amount in accord with the proofs, but in

any event, no less than $100,000 for Nations’ tortious inducement, award punitive damages, award

GRI its reasonable attorney’s fees and costs associated with bringing this action, and award GRI

any other and further relief this Court deems just and equitable

                                COUNT VII - VIOLATION OF DTSA
                                       (Against Rorvig)

        158.   GRI realleges and incorporate Paragraphs 1 through 157 as if fully set forth herein.

        159.   During the course of his relationship with GRI, Rorvig was provided access to

substantial amounts of GRI Confidential Information, including the Confidential Information

identified in Paragraphs 22, 28, 33 and 118.

        160.   This information is not available to the general public and is closely guarded by

GRI. GRI keeps such information strictly confidential in order to protect and maintain its

competitive advantage. The economic value of this information is over $1,000,000.

        161.   GRI Confidential Information, including the Confidential Information identified in

Paragraphs 22, 28, 33 and 118, is a trade secret under the Defend Trade Secrets Act, 18 U.S.C.

§ 1832, et seq. (“DTSA”), because the information is not generally known outside of GRI; the

information is not generally known by employees and others involved in GRI’s business except

for those who need the information to perform their job function; GRI has taken reasonable

measures to guard the secrecy of the information; the information is of great value to GRI; GRI

invested significant amounts of time and money in developing the information; the information

cannot easily be acquired or duplicated by others; and because GRI uses the information in its

business.




                                                32
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 33 of 38 PageID #:33




        162.   Rorvig was legally and contractually obligated to return GRI Confidential

Information to GRI when he resigned from GRI on December 23, 2021.

        163.   Rorvig knew that he was legally and contractually obligated to not use GRI

Confidential Information after he resigned from GRI on December 23, 2021.

        164.   Unfortunately, Rorvig ignored (and continues to ignore) his obligations to GRI and

misappropriated GRI’s Confidential Information after he resigned from GRI on December 23,

2021.

        165.   In addition and based upon information and belief, Rorvig engaged in other acts of

misappropriation that will be revealed through discovery.

        166.   Unless restrained, and based upon the activity described above, Rorvig will

continue to use, divulge, and/or disclose GRI Confidential Information.

        167.   It is axiomatic that if Rorvig continues to possess GRI Confidential Information,

then Rorvig has no intention of complying with the DTSA.

        168.   Consequently, Rorvig’s actions constitute the actual or threatened misuse of GRI

Confidential Information. Injunctive relief against Rorvig is therefore appropriate.

        169.   Naturally then, GRI requests an order enjoining Rorvig from accessing, using, or

possessing GRI Confidential Information.

        170.   GRI also requests an order requiring Rorvig to return any and all GRI Confidential

Information in his possession, custody or control to GRI as provided by 18 U.S.C. § 1836(3)(A)(ii).

        171.   In addition, GRI has incurred significant damages as a result of Rorvig’s

misappropriation of GRI Confidential Information.




                                                33
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 34 of 38 PageID #:34




        172.   Rorvig’s actions have also damaged GRI’s goodwill, reputation, and legitimate

business interests. GRI’s damages, described above, are well in excess of 100,000.00, and GRI

seeks monetary and economic damages provided by 18 U.S.C. § 1832 et seq.

        173.   Finally, Rorvig’s misappropriation of GRI Confidential Information has been

willful and malicious.

        174.   As a result, GRI is entitled to recover its attorneys’ fees and punitive from Rorvig.

        WHEREFORE, GRI respectfully requests this Court enter judgment in its favor and

against Rorvig, enter an injunction enjoining Rorvig from using, possessing, or accessing GRI

Confidential Information, enter an order requiring Rorvig to return all GRI Confidential

Information in Rorvig’s possession, custody or control to GRI, award GRI compensatory damages

in an amount no less than $100,000, award GRI punitive damages, award GRI its reasonable

attorney’s fees and costs associated with bringing this action, and award GRI any other and further

relief this Court deems just and equitable.

                                 COUNT VII - VIOLATION OF WTSA
                                         (Against Rorvig)

        175.   GRI realleges and incorporates paragraphs 1 through 174 as if fully set forth herein.

        176.   During the course of his relationship with GRI, Rorvig was exposed to substantial

amounts of GRI Confidential Information, including the Confidential Information identified in

Paragraphs 22, 28, 33 and 118.

        177.   This information is not available to the general public and is closely guarded by

GRI. GRI keeps this information strictly confidential in order to maintain a competitive advantage

over its competitors.

        178.   This information is considered a trade secret under the Wisconsin Trade Secrets

Act (“WTSA”), Chp. 134.90/et al., because GRI derives independent economic value from this


                                                34
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 35 of 38 PageID #:35




information not being generally known to the public, the information is not readily ascertainable

by proper means by other persons who could obtain economic value from its disclosure or use, and

the information is the subject of reasonable efforts to maintain its secrecy.

        179.   The economic value of the GRI trade secrets/Confidential Information that Rorvig

had access to and misappropriated is over $1,000,000.

        180.   Rorvig has misappropriated GRI trade secrets.

        181.   Based upon information and belief, Rorvig also engaged in other acts of

misappropriation that will be revealed through discovery.

        182.   Injunctive relief is therefore appropriate, and GRI requests that this Court enter an

order enjoining Rorvig from using, possessing, or accessing any GRI Confidential Information

and from disclosing GRI Confidential Information to anyone not authorized to receive the

Confidential Information.

        183.   GRI also requests that this Court enter an order requiring Rorvig to return any and

all GRI Confidential Information.

        184.   GRI has incurred significant damages as a result of Rorvig’s misappropriation of

GRI Confidential Information.

        185.   Rorvig’s actions have also damaged GRI’s goodwill, reputation, and legitimate

business interests. GRI’s damages, described above, are well in excess of 100,000.00, and GRI

seeks monetary and economic damages provide by the WTSA.

        186.   Finally, Rorvig’s misappropriation of GRI Confidential Information has been

willful and malicious. As a result, GRI is entitled to recover its attorneys’ fees and punitive

damages from Rorvig.




                                                 35
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 36 of 38 PageID #:36




        WHEREFORE, GRI respectfully requests this Court enter judgment in its favor and

against Rorvig, enter an injunction enjoining Rorvig from using, possessing, or accessing GRI

Confidential Information, enter an order requiring Rorvig to return all GRI Confidential

Information in Rorvig’s possession, custody or control to GRI, award GRI compensatory damages

in an amount no less than $100,000, award GRI punitive damages, award GRI its reasonable

attorney’s fees and costs associated with bringing this action, and award GRI any other and further

relief this Court deems just and equitable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Guaranteed Rate, Inc. respectfully requests that the Court grant

the following relief in favor of GRI and against Defendants (without waiving or limiting any other

relief that may be available to GRI):

              (a) Enter a judgment in favor of GRI and against Defendants on all Counts;

              (b) Enter an Order preliminarily and permanently enjoining Defendants from directly

                 or indirectly using, transferring, copying, or disclosing to any individual or entity,

                 any GRI Confidential Information (including, but not limited to, any and all

                 information relating to, evidencing or derived in whole or in part from information

                 about GRI’s employees’ compensation, training, operations, business, sales, the

                 identity of GRI’s top-performing employees, hiring criteria, or the pricing and cost

                 structure of GRI’s products and services) or from otherwise violating the

                 Confidential Information Provisions of the Rorvig Agreement or any other GRI

                 employee Agreement;

              (c) Enter an order requiring Defendants to return any and all Confidential Information

                 in Defendants’ possession, custody, or control; to immediately turn over and deliver



                                                  36
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 37 of 38 PageID #:37




                 to GRI, and permanently uninstall and delete from each of their respective

                 computers and other information storage media and devices, all GRI Confidential

                 Information and all other property of GRI, however stored or maintained, and all

                 paper and electronic copies thereof, including without limitation any and all

                 information related to, evidencing, or derived in whole or in part from information

                 about GRI’s customers;

              (d) Enter an order requiring that Defendants immediately cease and desist from directly

                 or indirectly soliciting any GRI employees to leave their employment with GRI;

              (e) Enter an order requiring Defendants to disgorge any profits they have a received as

                 a result of their wrongful acts, including all compensation Defendants received

                 during the period in which Rorvig breached fiduciary duties while employed by

                 GRI and Nations induced his breach of fiduciary duties while employed by GRI;

              (f) Award monetary damages to GRI for those claims for which monetary damages are

                 available in this proceeding in an amount to be proven at trial;

              (g) Award GRI its attorneys’ fees and all costs and expenses related to this action;

              (h) Award GRI punitive damages; and

              (i) Such other and further relief as the Court deems just and appropriate.

                                          JURY DEMAND

        GRI demands a jury trial on all issues so triable.




                                                   37
15596769 v3
     Case: 1:22-cv-02342 Document #: 1 Filed: 05/04/22 Page 38 of 38 PageID #:38




 DATED: May 4, 2022                           Respectfully submitted,

                                              GUARANTEED RATE, INC.


                                              By: s/J. Scott Humphrey___________
                                              One of Its Attorneys

                                              J. Scott Humphrey
                                              Katie Burnett
                                              BENESCH, FRIEDLANDER, COPLAN &
                                              Aronoff LLP
                                              71 South Wacker Drive
                                              Suite 1600
                                              Chicago, IL 60606-4637
                                              Telephone: 312-212-4940
                                              shumphrey@benesch.com
                                              kburnett@benesch.com

                                              Counsel for Guaranteed Rate, Inc.




                                         38
15596769 v3
